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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                  IN THE UNITED STATES DISTRICT COURT                 August 11, 2021
                  FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                           HOUSTON DIVISION
RICHARD GAMEL,                         §
                                       §
                  Plaintiff,           §
                                       §
V.                                     §       CIVIL ACTION NO. H-19-3604
                                       §
FORUM ENERGY TECHNOLOGIES,             §
INC.                                   §
                                       §
                  Defendant.           §


                        MEMORANDUM OPINION AND ORDER


      Plaintiff, Richard Gamel ("Gamel"), brings this action against
defendant,      Forum    Energy    Technologies,      Inc.    ("FET"),         for
discriminatory discharge, failure to accommodate, and retaliation
in violation of the Americans with Disabilities Act, as amended, 42
U.S.C.   §   12101, et seq. ("ADA").       Pending before the court are
Plaintiff's Motion for Partial Summary Judgment ("Gamel's MPSJ")
(Docket Entry No. 21), Defendant's Motion for Complete Summary
Judgment ("FET's MSJ") (Docket Entry No. 22), Plaintiff's Motion to
Exclude Expert Testimony of Dr. Janci Lindsay (Gamel's Motion to
Exclude")     (Docket Entry No.     23),   and FET's Objections to the
Plaintiff's Evidence Submitted in Response to Motion for Complete
Summary Judgment        ("FET's Objections to Plaintiff's Evidence")
(Docket Entry No. 31).       For the reasons set forth below, Gamel's
MPSJ will be denied, FET's MSJ will be granted, Plaintiff's Motion
to Exclude will be denied as moot, FET's Objections to Plaintiff's
Evidence will be denied, and this action will be dismissed.
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                           I.   Undisputed Facts 1

      Gamel was employed by FET as a machinist from approximately

September 26, 2013, to October 24, 2017.2 Gamel has been diagnosed
with Hepatitis C.3       For a number of years Gamel's Hepatitis c was
dormant.     Around July of 2017, Gamel's Hepatitis C ceased to be
dormant,    and   from    September    22nd   to   24th   of   2017   he       was
hospitalized with symptomatic, new onset ascitis (fluid buildup),
where 7.4 liters of fluid were removed from his abdomen.4


          Claim for Relief, Complaint, Docket -Entry No. 1, pp. 1-3
1� 5-14; overview of the Case, Gamel's MPSJ, Docket Entry No. 21,
pp. 2-3; Statement of Facts, Defendant's Response to Plaintiff's
Motion for Partial Summary Judgment ("FET's Response to MPSJ"),
Docket Entry No. 25, 7-9; Statement of Facts, FET's MSJ, Docket
Entry No. 22, pp. 7-11; and Statement of Facts, Plaintiff's
Response to Motion for Summary Judgment, ("Gamel's Response to
MSJ"), Docket Entry No. 27,    pp. 6-16. Page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system, CM/ECF.
      Declaration of Nathalie Friar ("Friar Declaration".) ,
      2
                                                                           1   5,
Exhibit 1 to FET's MSJ, Docket Entry No. 22-1, p. 2.
      Gamel has also been diagnosed with Asthma,
      3
                                                            but he
acknowledges that "it was the hepatitis C that triggered the series
of events that led to [his] termination." Gamel's MPSJ; Docket
Entry No. 21, p. 4 n. 1.
      4
       Oral Deposition of Richard B. Gamel ( "Gamel Deposition"),
p. 23: 22-23, included in Appendix to Plaintiff's Response to Motion
for Summary Judgment ("Gamel's Appendix"), Docket Entry No '. 27 1,
p. 8. See also Discharge Summary included in Gamel's Appendix,
Docket Entry No. 27 1, p. 62. FET objects to Gamel's hospital
records as "Hearsay/Double Hearsay Not Authenticated."         FET's
Objections to Plaintiff's Evidence, Docket Entry No. 31, p. 4. "At
the summary judgment stage, evidence need not be authenticated or
otherwise presented in an admissible form." Maurer v. Independence
Town, 870 .F.3d 380, 384 (5th Cir. 2017) (citing Fed. R. Civ. P.
56(c); Lee v. Offshore Logistical & Transport, L.L.C., 859 F.3d
                                                      (continued...)
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     On October 16, 2017, after two of Gamel r s co-workers - Kyle

Peterson ("Peterson 11 ) and Je.nnifer Miller ("Miller 11 )      -   reported

that he was behaving strangely, production manager, Dan Bergerson
("Bergerson") asked Gamel to take to a reasonable suspicion drug
test, and Gamel agreed. 5     The drug test was conducted by DISA, a
third-party vendor, which routinely conducts employee-related drug




        ••• continued)
     4(

353, 355 (5th Cir. 2017); LSR Consulting, LLC v. Wells Fargo Bank,
       835 F.3d 530, 534 (5th Cir. 2016)).       The Fifth Circuit
explained that "[a] fter a 2010 revision to Rule 56, 'materials
cited to support or dispute a fact need only be capable of being
"presented in a form that would be admissible in evidence."'" Id.
(quoting LSR Consulting, 835 F.3d at 534 (quoting Fed. R. Civ. P.
56(c)(2)). The court explained that "[t] his flexibility allows the
court to consider the evidence that would likely be admitted at
trial� as summary judgment      trying to determine if the evidence
admitted at trial would allow a jury to find in favor of the
nonmovant - without imposing on parties the time ·and expense it
takes to authenticate everything     the record." Id. (citing Fed.
R. Civ. P. 56(c)(1)(A)). Because FET does not argue that Gamel's
hospital records are not capable of being presented in a form that
would be admissible _in evidence at trial, and because Gamel's
hospital records appear to be the type of evidence that would
likely be admitted at trial as business records, FET's objection to
Gamel's hospital records will be overruled.          Fed. R. Evid.
803(6) (expressly allowing admission of records of opinion and
diagnosis). See also Kuklis v. Hancock, 428 F.2d 608, 612-13 (5th
Cir. 1970) (citing Thomas v. Hogan, 308 F.2d 355, 360-61 (4th Cir.
1962)("There is good reason to treat a. hospital record entry as
trustworthy.")).
     5
        Gamel Deposition,· p. 79 :4-9, Gamel's Append.ix, Docket Entry
No. 27:.1, p� 22 (referring to the drug test as "voluntary 11 ).
also Friar Declaration, 11 8-9, Exhibit 1 to FET's· MSJ, Docket
Entry No. 22-1, p. 3; Attachment·D to Friar Deelaration, Docket
Entry No. 22-1, •PP· 25-26 (co-worker statements describing Gamel 1 s
behavior); and Addendum to Charge of Discrimination, Exhibit 7 to
FET 1 s MSJ, Docket Entry No. 22-7, 4 (Gamel stated "I agreed to the
test because I had nothing to hide.").
                                    -3-
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tests and provides certified results on :which FET _relies.6 Gamel's
                              .   .

drug test was positive for amphetamines and methamphetamine. 7

     On October 21, 2017, Gamel was interviewe·d by Medical Review
Officer ("MRO") Jerry Hernandez, M.D.         During the interview Gamel
told Dr. Hernandez about the prescription medications that he was
taking for Hepatitis C and Asthma.           Following his interview of
Gamel, Dr. Hernandez verified that the Gamel tested positive for
Amphetamine, Amphetamines Class, and Methamphetamine.8
     By letter        dated October 24,    2017,   and   signed by     Human

Resources Representative Mande Suttles ("Suttles"), FET discharged
Gamel for violating FET's Substance Abuse Policy. 9          The discharge
letter stated that Gamel was being discharged for cause because
"the Company received a report that you had a confirmed positive
drug test.   1110
                    The discharge letter advised Gamel pot to "go to the


     6
         Friar Declaration, � 9, Docket Entry No. 22-1, p. 3.
     7Id. at� 11. See also Exhibit 4 to FET's MSJ, Docket Entry
No. 22-4 (DISA Drug Test Result Certificate); Gamel Deposition,
pp. 89:6 ("I failed the drug test . . . "), 94:14-15 ("[H]e sent me
to take a drug test. I failed it."), 194:14 18 (acknowledging that
he was discharged because of a positive drug test), Gamel's
Appendix, Docket Entry No. 27-1, pp. 24, 26, 51.
     8Medical Review Officer Worksheet, Exhibit 5 to FET's MSJ,
Docket Entry No. 22-5, pp. 7-8.
     9
      Friar Declaration, � 11, Docket Entry No. 22-1, p. 3. See
also Attachment B to Friar Declaration, Docket -Entry No. 22-1,
pp. 9 23 ( FET's Substance Abuse Policy); Attachment D to Friar
Declaration, Docket Entry No. 22-1, p. 28 (discharge letter); and
Gamel Deposition, p. 194:14-18, Gamel's Appendix, Docket Er1try
No. 27-1, p. 51 (acknowledging that a positive drug test caused his
discharge).
     10
          Attachment D to Friar Declaration, Docket Entry No.          22-1,
p. 28.
                                      4
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facility for any reason. ,,n                The decision to discharge Gamel was

made by Bergerson, Suttles, and Vice President of:Human Resources,
Michael Danford. 12
     When, on November 9, 2017, Gamel appeared                      FET's parking lot
at 5: 15 a. m. ,    Bergerson         contacted       local   law   enforcement and
complained that Gamel was trespassing. 13
     On     or   about    April       20,     2018,   Gamel   filed    a   charge   of
discrimination with the Equal Employment Opportunity Commission
("EEPC"), 14 and on June 27, 2019, the Equal Employment Opportunity
Commission       ("EEOC") issued Gamel a right-to-sue letter.                       On
September 24, 2019, Gamel filed this action. 15



                    II.    Motions for Summary Judgment

     Gamel alleges that FET discriminated against him on the basis
of disability in violation of the ADA by discharging him,                           by
failing     to   provide    him       a     reasonable    accommodation,     and    by
retaliating against him for having engaged in protected activity. 16




    12
       Friar Declaration,         1   8, Exhibit 1 to FET's MSJ, Docket Entry
  .
No 22 1, p. 3.
     13
          at 113. See also Exhibit 6 to FET's MSJ, Grimes County
Sheriffs Office Call for Service Report, Docket Entry No. 22-6.
      Exhibit 7 to FET's MSJ, Docket Entry No. 22�7, pp. 3 (Charge
     14

of Discrimination), and 4· (Addendum to Charge of Discrimination).
     15
          Complaint, Docket Entry No. 1, p. 3             1 14.


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Gamel argues that he is entitled to partial summary judgment that

his Hepatits C is a disability within the meaning of the ADA, and

that many of FET's affirmative defenses have no basis in law or
fact. 17 FET argues that it is entitled to complete summary judgment

on Gamel's claims because (1) Gamel is not disabled within the
meaning of the ADA and, therefore, cannot establish a prima facie
case        discrimination, failure to accommodate, or retaliation
under the ADA;      (2) Gamel was discharged for the legitimate,

nondiscriminatory reason that he failed a drug test; and (3) Gamel
cannot cite any evidence capable of establishing that FET's reason
for discharging him was pretextual, that FET wrongfully failed to
provide Gamel reasonable accommodation,           or the FET retaliated
against Gamel for engaging in conduct protected by the ADA. 18
Asserting that his Hepatitis C is a disabling condition, that FET
used the drug test as a pretext for discrimination, that FET failed
to accommodate his disability by retesting him,              and that FET
retaliated against him         seeking a retest, Gamel urges the court
to grant his MPSJ and deny FET's MSJ. 19



      Gamel's MPSJ, Docket Entry No. 21, pp. 4 and 7.
       17
                                                         See also
Gamel's Response to MSJ, Docket Entry No. 27, pp. 16-17.
         's MSJ, Docket Entry No. 22, p. 7. See also Defendant's
Reply to Plaintiff's Response to Motion for Complete Summary
Judgment ("FET's Reply"), Docket Entry No. 30, pp. 8-13.
      Gamel's Response to MSJ, Docket Entry No. 2 7, pp. 17 23;
       19

Plaintiff's Reply in Support of Motion for Partial Summary Judgment
("Gamel's Reply"), Docket Entry No. 29, pp. 2 3.
                                    -6-
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A.    Standard of Review

      Summary judgment is authorized if the movant establishes that
there is no genuine dispute about any material. fact, and the law
entitles it to judgment.         Fed. R. Civ. P. 56.         Disputes about
material facts are       "genuine"    if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.
Anderson v. Liberty Lobby, Inc., 106 S. Ct. 2505, 2511 (1986).               The
Supreme Court has interpreted the plain language of Rule 56 to
mandate the entry of summary judgment "after adequate time for
discovery and upon motion, against a party who fails to make a
showing sufficient to establish the existence of an element
essential to that party's case, and on which that party will bear
the burden of proof at trial."             Celotex Corp. v. Catrett, 106
S. Ct. 2548, 2552 (1986 ).        A party moving for summary judgment
"must 'demonstrate the absence of a genuine issue of material
fact,' but need not negate the elements of the nonmovant's case."
Little   V.   Liguid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994)
(en bane) (quoting Celotex, 106 S. Ct. at 2553-2554).                 "If the
moving party fails to meet this initial burden, the motion must be
denied, regardless of the nonmovant's response."           Id. If, however,
the moving party meets this burden, the nonmovant must go beyond
the pleadings and show by af fidc:1.vi ts, depositions, answers to
interrogatories, or other admissible evidence that facts exist over
which there is a genuine issue for trial.           Id.   "[T]he court must


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draw all reasonable inferences in favor of the nonmoving party, and

it may not make credibility determinations or weigh the evidence."
Reeves v. Sanderson Plumbing Products, Inc., 120 S. Ct. 2097, 2110
(2000).     Factual controversies are to be resolved in favor of the
nonmovant, "but only when there is an actual controversy, that is,
when both parties have submitted evidence of contradictory facts."
Little, 37 F.3d at 1075.          "Unsupported allegations or affidavits or
deposition testimony setting forth ultimate or conclusory facts and
conclusions of law are insufficient to defeat a motion for summary
judgment."    Clar};: v. America's Favorite Chicken Co., 110 F.3d 295,
297 (5th Cir. 1997).



B.    Applicable Law

      Title I of the ADA makes it unlawful for an employer to
"discriminate against a qualified individual on the basis of
disability in regard to .             . discharge of employees               fl
                                                                                  42

U.S.C. § 12112(a).       The ADA provides that the term "discriminate"
includes     "not   making       reasonable    accommodations    to    the   known
physical            limitations of an otherwise qualified individual
with a disability,                "   42 U.S.C.   §   12112(b)(5)(A).    The ADA
defines "qualified individual"            as "an individual who,         with or
without     reasonable    accommodation,        can    perform   the    essential
functions of the employment position that such.individual holds or
desires."     42 U.S.C.      §   12111(8).     The definition of disability


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                             .             .                                  .

includes "a physical or mental impairment that substantially limits

on� or more major life ac�ivities of such individual.� 42 U.S.C.

§   12102(1)(A).      To qualify as disabled it is not enough merely to
have     an   impairment;        a       plaintiff        must    demonstrate       that   the
impairment "substantially limits" a "major life activity." Hale v.
King, 642 F.3d 492, 500-01 (5th Cir. 2011) (per curiam) (citing
Equal     Employment     Opportunity             Commission        v.    Chevron     Phillips

Chemical      Co.,    LP,   570           F.3d    606,       614    (5th     Cir.    2009)).
"'Substantially limits' is not meant to be a demanding standard."

29 C.F.R.     §   1630.2(j) (1)(i)             "An impairment need not prevent, or

significantly or severely restrict" performance of major life
activities, but rather, the standard is whether it "substantially
limits the ability of an individual to perform a major life
activity as compared to most people in the general population." 29

C.F.R.    §   1630.2(j)(l)(ii).                This comparison "usually will not
require scientific, medical, or statistical analysis". Williams v.
Tarrant County College District, 717 F. App'x 440, 446-47 (5th Cir.

2018) (quoting 29 C.F.R.             §   1630.2(j)(l)(v)).
       The term "major life activities" includes, but is not limited
to, activities such as caring for                          oneself,      eating, sleeping,
thinking, and working.           42 U.S.C.           §   12102 (2 )(A)     Pursuant to the
ADA Amendments Act of 2008,                    the term          "major life activities"
includes " [m] ajor bodily functions," which includes but is "not
limited to, functions of the immune system, normal cell growth,


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digestive,        bowel,        bladder,      neurological,      brain,       respiratory,

circulatory, ·endocrine, and reproductive functions."                           42 u.s.c.

§ 12102(2)(B)}.         The ADA.expressly states.that "[t]he definition of
disability . . . shall be construed in favor of a broad coverage of
individuals . . ., to the maximum extent permitted by the terms of
this chapter," 42 U.S.C. § 12102(4}(A), that "[a]n impairment that
is    episodic     or      in       remission    is     a   disability    if    it   would
substantially limit a major life activity when active," 42 U.S.C.

§    12102(4)(D),        and        that    "[t]he    determination      of    whether   an
impairment substantially limits a major life activity shall be made
without regard to the ameliorative effects of mitigating measures
such as - medication .                 II
                                            42 U.S.C.   §   12102(4)(E)(i)(I).       "[T]he
relevant time for assessing the existence of a disability is the
time of the adverse employment action."                     Chevron Phillips Chemical
Co., 570 F.3d at 618.
       Gamel may establish an ADA claim by using direct evidence or
the indirect method of proof set forth in McDonnell Douglas Corp.

v. Green, 93 S. Ct. 1817 (1973).                      See Seaman v. CSPH, Inc., 179
F.3d 297, 300 (5th Cir. 1999).                  "Direct evidence is evidence that,
if believed, proves the fact of discriminatory animus without
inference or presumption."                  Rachid v. Jack In The Box, Inc., 376
F.3d 305, 310 n.6 (5th Cir. 2004) (quoting Sandstad v. CB Richard
Ellis, Inc., 309 F.3d 893, 897 (5th Cir. 2002}, cert. denied, 123
S.   Ct.   2572    ( 2 0 03 ) ) .     Gamel has not cited direct evidence of


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discrimination and does not argue that this is a direct evidence

case. Gamel's initial burden under the McDonnell Douglas framework

is to establish a prima facie case of discrimination, failure to

accommodate, or retaliation based upon his disability by showing

(1) he has a disability,        (2) he was qualified for his job, and

(3) he was subjected to an adverse action on account of his

disability.      Caldwell v. KHOU-TV,         850 F.3d 237,          241   (5th Cir.

2017).     If Gamel establishes a prima facie case, a presumption of

discrimination arises, and the burden shifts to FET to articulate

a legitimate,    non-discriminatory reason for its adverse action.

      at      241-42.        Once     FET     articulates        a     legitimate,

nondiscriminatory reason for its adverse action, the burden shifts

back to Gamel who may prove intentional discrimination by producing

evidence from which the jury could conclude that FET's articulated

reason is a pretext for discrimination.              Id. at 242.       "A plaintiff

may show pretext either through evidence of disparate treatment _or

by showing that the employer's proffered explanation is false or

unworthy of     credence."      Id.     (quoting      Jackson    v.    Cal-Western

Packaging Corp.,        602 F.3d 374,       378-79    (5th Cir. 2010)).          "An

explanation is false or unworthy of credence if it is not the real

reason for the adverse employment action."             Id. (quoting Laxton v.

Gap Inc., 333 F.3d 572, 578 (5th Cir. 2003)).                   "In conducting a

pretext analysis, the court does not 'engage in second-guessing of

an employer's business decisions.'"             Roberson-King v. State of


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Louisiana Workforce Commission, 904 F.3d 377, 381 (5th Cir. 2018)

(quoting LaMaire v. Louisiana Department of Transportation &
Development, 480 F.3d 383, 391 (5th Cir. 2007))..               An employee's
subjective belief that he has suffered discrimination is not
sufficient to.establish pretext. See Equal Employment Opportunity
Commission v. Louisiana Office of Community Services, 47 F.3d 1438,
1448 (5th Cir. 1995), overruled on other grounds ("an employee's
subjective belief of discrimination, however genuine, cannot be the
basis of judicial relief").



                                 III. Analysis

A.      Gamel 1 s Motion for Partial Swnmary Judgment

        Asserting that he was diagnosed with Hepatitis C "around
2011, "20 that it was dormant for a number of years, but that on July
28,    201 7,   he tested positive for hepatitis after consulting a
doctor for fatigue, irritability, and constant tiredness, Gamel
argues that he is entitled to summary judgment that he is a person
with a disability within the meaning of the ADA. 21

      Gamel's MPSJ, Docket Entry No. 21, p. 4. See also Gamel
        20

Deposition, p. 23:22-23, Gamel's Appendix, Docket Entry No. 27-1,
p. 8. Although excerpts from the Gamel Deposition are attached to
his MPSJ as Docket Entry No. 21-1, for ease and consistency, all of
the court's cites to the Gamel Deposition are to the complete
version included in Gamel's Appendix, Docket Entry No. 27-1.
      Id. at 4-6 (citing Gamel Deposition, p. 155:12 21, Gamel's
        21

Appendix, Docket .. Entry No. 27-1, p. 41). Gamel also seeks summary
judgment on a number of the affirmative defenses that FET has
asserted, but because the court is able· to resolve this action
                                                      (continued...)
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     Gamel testified about his disabilities at his deposition:

     Q.              What medical condition or conditions do you
                feel constituted disability?
    A.               Constant fatigue.    Ammonia build up in my
                system due to my liver. When it starts - I don'.t
                go to the hospital every time my liver acts up.
                     I just know my liver is acting up when, like,
                I had the surgery at Forum, it was a Friday night,
                I felt like I had indigestion. And so I felt like
                kind of gassy, but no big deal.
                     And then, by the middle of the night, when my
                little Chihuahuas - we have two little minatures -
                ran across me. And that hurt like hell.
                     And the next morning, I was laying on my back
                and my wife said, Papa, I looked up hepatitis, and
                with what you're experiencing, you're not passing
                gas orally or anything. Will you please go see a -
                a- the ER.
                     So I went to Tomball Memorial       of The
                Woodlands Memorial Hermann Hospital.  And that's
                when the doctor told me about two hours later,
                we're going to have [to] drain your abdomen.
                You'll have to thank your wife. You owe her. In
                two days you would be wearing a sheet over your
                head if you hadn't come in.
                     Because my liver stopped processing enzymes
                and proteins, so I built up 9 ½ liters of fluid in
                my abdomen cavity.  I looked like I was pregnant,
                but it was gas, bloating.
                     So they drained me, but it was all right.

    Q.               So j�st to clarify, what disabilities do you
                feel you have?



          continued)
    21 ( ••
            •

without reference to any of FET's asserted affirmative defenses,
Gamel's motion for summary judgment on FET's affirmative defenses
will be denied as moot.
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     A.           Hepatitis.

     Q.           Okay.   Hepatitis?
     A.           Yeah. Constant fatigue or stress. It clouds
             your thinking, because when you - when the ammonia,
             according to the doctor, builds up in your system
             when the liver is not processing the enzymes and
             proteins, the ammonia can cause you to go in a
             state of confusion, or have anger issues.
                  You' 11 be quicker on your temper. And you
             don't know this is happening because of the
             exchange in your systern.22
     FET responds that Gamel fails to cite
     admissible evidence of any substantial limitation on a
     major life activity.     While he may have a medical
     diagnosis, · he provides no evidence that his medical
     condition substantially limits a major life activity.
     Because of this, the Court should deny summary judgment
     on this point. 23
Citing Toyota Motor Manufacturing, Kentucky, Inc. v. Williams, 122
S. Ct. 681 (2002), and Equal Employment Opportunity Commission v.
Agro Distribution, LLC, 555 F.3d 462, 469 (5th Cir. 2009), FET
argues that " [m] erely having an impairment does not make one
disabled for purposes of the ADA," and that "the impairment must
substantially limit the individual."24        FET argues that


      Id. at 5-6 (quoting Gamel Deposition, pp.
     22
                                                              54:21-56:15,
Gamel's Appendix, Docket Entry No. 27-1, p. 16).
      FET's Response to MPSJ, Docket Entry No. 25, p. 6. See also
     23

id. at- 11 (same); FET's MSJ, Docket Entry No.. 22, pp. 12-13
("Mr. Gamel's discrimination claim fails as            he has not
articulated a condition that substantially limits a major life
activity."); FET's Reply, Docket Entry No. 30, p. 6 ("Mr. Gamel
cannot show that he has a disability under the [ADA] because he
cannot show that any diagnosis substantially limited a major life
activity. 11)
     24
          FET's Response to MPSJ, Docket Entry No. 25, p. 10.
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     Mr. Gamel does not meet his summary-judgment burden on
     this point.    Instead, he simply points to deposition
     testimony that he has been diagnosed with hepatitis C and
     that he· sometimes       tired, stressed, confused, and
     angry.          Mr. Gamel does not testify that this
     diagnosis limits any major life activity, including his
     work for [FET] . . . 25
As evidence that Gamel was not disabled,              FET cites     Gamel's

testimony that Hepatits C did not affected his ability to work. 26
     Asserting that FET fails to cite that portion of the ADA'S
definition of "major li       activity" that includes the operation of
major bodily functions, Gamel replies that
     his hepatitis C is a permanent, long-term disability that
     was diagnosed ten years ago.      In September 2017, the
     hepatitis C essentially shut down his liv�r and almost
     killed him. [FET] does not dispute this.


                   Mr. Gamel presented evidence that it
     substantially limited his liver function, that it caused
     fatigue, and that it limited his ability to think. 27
     Gamel testified that he was diagnosed with Hepatitis C           about
2011, and that although it remained dormant for years, in late
September of 2017 it flared up and caused him to be hospitalized
because it substantially limited the function of his liver.           Gamel




          's Reply, Docket Entry No. 30, p. 8 (citing Gamel
Depos ion, pp. 60:12-61:7, Gamel's Appendix, Docket Entry No. 27-
1, p. 17 (testifying that although fatigue caused him to leave work
early two or three times at his supervisor 1 s direction, fatigue did
not affect his ability to do his job)).
     27
          Gamel' s Reply, Docket Entry No. 29, p. 2.
                                   -15-
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testified that Hepatitis C causes him constant fatigue and limits

his    ability to think. 28      Gamel also testified that on occasion his

fatigue caused him to be sent home from work. 29

       The fact that his Hepatitis C flared up and substantially

limited        the   function   of   his    liver   in   September   of   2017   is

corroborated by Gamel's hospital records, which show that he was

hospitalized September 22-24, 2017, for "[s]ymptomatic new onset

ascitis," "[d]ecompensated cirrhosis, due to HCV.                    . ," and "HCV

infection," 30 and that while he was hospitalized 7. 4 liters of fluid

were removed from his abdomen. 31 Gamel's hospital records also show

that he was released from the hospital with a plan of care that

included prescription medications. 32               On October 16, 2017, when

Bergerson asked him to take a drug test, he was taking medications

prescribed for Hepatitis C. 33

       FET does not dispute that Gamel has Hepatitis C, or that when

it discharged Gamel he was taking prescription medications for



      Gamel Deposition, pp. 54:21-56:24, Gamel's Appendix, Docket
       28

Entry No. 27-1, p. 16.
       29
            Id. at 60:22-61:7, Gamel's Appendix, Docket Entry No. 27-1,
p. 17.
        See Discharge Summary Gamel's Appendix, Docket Entry No. 27-
       30

1,   p. 62.
       31
            Id. at 64.
       32Id.



      Gamel Deposition, pp. 83:6-85:2, Gamel's Appendix, Docket
       33

Entry No. 27-1, p. 23.
                                           -16-
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Hepatitis C.      Instead, relying on Toyota Motor, 122 S. Ct. at 681,

and Agro Distribution, 555 F.3d at 469, FET argues that Gamel has
failed to cite evidence capable of establishing that his Hepatitis
C substantially limited a major li              activity.   FET's reliance on
Toyota Motor and Argo Distribution is misplaced because both of
those    cases    involved    events     that   occurred    before    the   2008
amendments to the ADA;       The 2008 amendments expanded the definition
of "major life activities" to include "[m]ajor bodily functions,"

42 u.s.c.     §   12102(2)(B), and provided that the definition of
"disability" "shall be construed in favor of broad coverage of
individuals .       . to the maximum extent permitted by the terms of
this chapter." 42 U.S.C.          §   12102(4)(A).     In response to those
amendments the EEOC has cautioned that "' [s]ubstantially limits' is
not meant to be a demanding standard," 29 C.F.R. § 1630.2(j)(1)(i),
"[a]n impairment need not prevent, or significantly or severely
restrict" performance of major life activities, and that the
standard is whether the impairment "substantially limits the ability
of an individual to perform a major life activity as compared to
most     people     in    the         general    population".    29       C.F. R.
§   1630.2(j)(l)(ii).        This comparison "usually will not require
scientific, .• medical,      or   statistical      analysis:"        29   C.F.R.
§   16::30.2(j)(1)(v).   Because whether an impairment substantially
limits a major life activity is a fact intensive inquiry, and
because Gamel's testimony about the effects his Hepatitis C has on
his major life activities involves credibility de.terminations, the
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court is not persuaded that Gamel is entitled to summary judgment

that he is disabled within the meaning of the ADA.         Nevertheless, in

light of the "substantially limits" standard created by the ADA
Amendments Act of 2008, the Court reads plaintiff's evidence about
his Hepatitis C•as giving rise to a genuine issue of ,material fact
as to whether he is disabled within the meaning of the ADA.                   See
Williams, 717 F. App'x at 446-48. See also Sechler v. Modular Space
Corp., Civil Action No. 4:10-cv-5177, 2012 WL 1355586, at *11 (S.D.
Tex.    Apr.     18,   2012)   ("In light of the    'substantially limits'
standard created by the [ADA Amendments Act of 2008], the Court
thinks it appropriate to read [plaintiff's] testimony as giving rise
to a genuine issue of material fact as to whether her difficulties
thinking               are unique, and unlike those experienced by the
general population.").



B.     FET's Motion for Complete Summary Judgment

       1.      FET Is Entitled to Summary Judgment on Gamel' s ADA
               Discrimination Claim
       Asserting that it did not discriminate against Gamel because
of his disability,         FET argues that it is entitled to summary
judgment on Gamel' s discriminatory discharge claim because Gamel is
unable to establish a prima facie case, FET discharged Gamel for
the legitimate, non-discriminatory reason that he failed a drug
test, and Gamel is unable to cite evidence capable of ·establishing
that FET's reason for his discharge is pretextual.34


       34
            FET's MSJ, Docket Entry No. 22, pp. 12-16.
                                      -18-
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             (a)   Gamel Has Established a Prima Facie Case
        In order to establish a prima fac        case of discrimination
under the ADA, Gamel must cite evidence capable of establishing
that (1) he has a disability, (2) he was qualified for his job, and

(3) he was subjected to an adverse employment decision on account
of his disability.       Caldwell, 850 F.3d at 241.     Without disputing
that Gamel was qualified for his job,           or that he suffered an

adverse employment action, FET argues that Gamel cannot establish

a prima facie case of ADA discrimination because he
        has not articulated a condition that substantially limits
        a major life activity. . . While he testified that he has
        been diagnosed with hepatitis C, cirrhosis, and asthma,
        he does not suggest that any of these conditions
        substantially limited any major life activity, including
        his work for [FET] .35
For the reasons stated above in § III.A, the court has already
concluded that Gamel has raised a genuine        sue of material            as
to whether he was disabled within the meaning of the ADA when FET
discharged him.      Accordingly, the court concludes that Gamel has
satisf       the requirement of establishing a prima facie case.


             (b)   FET   Has    Articulated   a    Legitimate,         Non-
                   Discriminatory Reason for Gamel's Discharge
        FET argues that it     entitled to summary judgment on Gamel's
discriminatory discharge claim because he was discharged for a



             at 12-13.    See also FET's Reply, Docket Entry No. 30,
p. 6.

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legitimate,   non-discriminatory      reason,     i.e.,   FET    "separated
Mr. Gamel from employment in accordance with it Substance Abuse
Policy after it received a certified drug test from DISA showing

his us� of amphetamine and methamphetamine. " 36 Testing positive for
use of illegal drugs is a legitimate, non-discriminatory reason for
discharging an employee.           Kitchen v. BASF, 952 F.3d 247, 253
(5th Cir. 2020) ("the apparent positive results of [plaintiff's]
alcohol test and violation of company policy"                 constituted a
legitimate, nondiscriminatory reason for discharging plaintiff).
See also Polak v. Sterilite Corp., 3:19 CV-2972-D, 2021 WL 1753757,

*8 (N.D. Tex. May 4, 2021) (failure of a drug test, in violation of
company   policy,     constituted      evidence     of    a     legitimate,

nondiscriminatory reason for terminating plaintiff's employment);
Hardmon v. U.L. Coleman, Civil Action No. 17-1118, 2021 WL 606871,
*4 (W.D. La. February 16, 2021) (same).         Because FET has met its

burden of production, the burden of production shifts back to Gamel
to present evidence that would enable a reasonable fact finder to
find that FET's stated reason for his discharge is pretextual.


      FET's MSJ, Docket Entry No. 22, p. 13 (citing Friar
     36

Declaration, � 11, Exhibit 1 to FET's MSJ, Docket Entry No. 22-1,
p. 3. See also Attachment B to Friar Declaration, Docket Entry
No. 22-1, pp. 9-23 (FET's Substance Abuse Policy); Attachment D to
Friar Declaration, Docket Entry No. 22-1, p. 28 (Gamel's discharge
letter); Gamel Deposition, p. 194:14-18, Gamel's Appendix, Docket
Entry No. 27-1, p. 51 (acknowledging that a positive drug test
caused his discharge); Exhibit 4 to FET's MSJ, Docket Entry No. 22-
4, p. 4 (DISA Drug Test Result Certificate); and Medical Review
Officer Worksheet, Exhibit 5 to FET's MSJ, Docket Entry No. 22-5,
pp. 7-8 (verifying that Gamel tested positive for amphetamines and
methamphetamine).
                                   -20-
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             (c)   Gamel Has Failed to Raise a Genuine Issue of
                   Material Fact as to Pretext
      Gamel "may show pretext either through evidence of disparate
treatment or by showing that [FET's] proffered explanation is false
or unworthy of credence."          Caldwell,    850 F.3d at 242       (quoting
Jackson, 602 F.3d at 378-79). "An explanation is false or unworthy
of credence if it is not the real reason for the adverse employment

action."              (quoting Laxton,   333 F.3d at 578).        On summary
judgment,    Gamel only needs to rise "a genuine issue of fact

regarding pretext."             See also Reeves, 120 S. Ct. at 2106.
      Citing Kitchen, 952 F.3d at 247, and Polak, 2021 WL 1753757,
FET argues that
      [i]n this case, the evidence clearly indicates that [it]
      relied on the DSIA drug test in discharging Mr. Gamel. .
      . Mr. Gamel cannot point to any evidence that [FET] knew
      that the drug test was wrong and/or had a discriminatory
      intent against him.             Because of this,     his
      discrimination claim fails. 37



In   Kitchen    the    Fifth   Circuit   affirmed    the   district   court's
dismissal of an ADA claim because the plaintiff "offered no
evidence of a causal connection between his discharge and his
alcoholism."       952 F.3d at 253.      The   fth Circuit explained that
"[t]he focus of the pretext inquiry is not whether the alcohol test
was accurate but whether          [the defendant employer] reasonably
believed    its    non-discriminatory       reason   for   discharging   [the


      FET MSJ, Docket Entry No. 22, p. 14. See also FET's
      37
                                                                       Reply,
Docket Entry No. 3 O, p. 6 ("[Gamel] cannot prevail on                 an ADA
discrimination claim because he cannot show that [FET] 's              stated
reason for his discharge - his failed drug test  is false              and is
a mere pretext for discrimination.").
                                     -21-
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plaintiff]       and · then acted on that bas       fl
                                                                In Polak the

                                    in support of its conclusion that the
defendant       employer was     entitled   to   summary   judgment    because
plaintiff "failed to provide any evidence that would .enable a
reasonable trier of fact to find that [the defendant employer] did
not     reasonably     believe    its    non-discriminatory      reason    for
discharging him."       2021 WL 2021 WL 1753757 at *9.
       Gamel does not attempt to show pretext by disparate treatment
but, instead, argues that FET's stated reason for his discharge is
false or unworthy of credence.          Gamel argues that FET's MSJ
       ignore[s] most of the evidence in this case, including
       Mr. Bergerson 1 s hostility toward Mr. Gamel's disability,
       his efforts to terminate Mr. Gamel shortly after the
       hospital visit, his pressuring of co-workers to make
       bogus statements to support a demand for a drug test, his
       knowledge of Mr. Gamel's prescriptions, and his demand
       for immediate termination based on innocuous texts that
       he claimed were "harassment.''         [FET] ignores the
       testimony that the MRO directed a second drug test to
       account for the prescriptions for his disabilities and
       that Mr. Gamel informed Ms. Suttles of the need for a
       second test.      Finally, [FET] ignores the fact that
       Ms. Suttles falsely claimed that she had been unable to
       contact Mr. Gamel, even though he had left her voice mail
       messages and had sent her emails that mentioned the
       hepatitis C, its effects, and the fact that his
       prescriptions would affect the drug test.
             Based on this evidence, a reasonable jury can, and
        will, find that Mr. Bergerson wanted to get rid of
       .Mr. Gamel, that he concocted a bogus drug test, that HR
        knew that Mr. Gamel needed to be retested because he was
        taking prescriptions for his disability, and that HR
        pretended not to know about the retesting requirement so
        that it could appease Mr.         Bergerson by firing
        Mr. Gamel. 38


       38
            Gamel's Response to MSJ, Docket Entry No. 27, pp. 17-18.
                                     -22-
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        Gamel does not dispute that he voluntarily submitted to the

drug test that Bergerson requested, 39 that the drug test came back
positive for amphetamines and methamphetamine, 40 and that FET' s
Substance Abuse Policy provides that "[a]ny employee who receives
a     confirmed     positive     drug    or    alcohol    test     is   subject     to
disciplinary         action    up   to   and    including        termination      from

employment. "41 Instead, relying on his own testimony, Gamel asserts
that he did not use amphetamines or methamphetamine, 42 and that the
medication he was taking for Hepatitis C caused false positives. 43
But     a     plaintiff's     "statements     that   he   did    not    commit    [the
underlying act]        are insufficient to create a triable issue of
fact."        Jackson, 602 F.3d at 379.        See also Cavada v. McHugh, 589
F. App 1 x 717, 720 (5th Cir. 2014) (per curiam) ("a litigant cannot



      Gamel Deposition, p. 7 9:4-9, Gamel' s Appendix, Docket Entry
        39

No. 27-1,· p. 22 (referring to the drug test as "voluntary") . See
also Addendum to Charge of Discrimination, Exhibit 7 to FET's MSJ,
Docket Entry No. 22-7, p. 4 (Gamel stated "I agreed to the test
because I had nothing to hide.").
      Id. at 89:6 ("I failed the drug test. . . "), 94:14-15 ("[H]e
        40

sent me to take a drug test.          I failed it."), 194:14-18
(acknowledging that he was discharged because of a positive drug
test), Gamel's Appendix, Docket Entry No. 27 1, pp. 24, 26, 51.
        41
             Attachment B to Friar Declaration, Docket Entry No. 22-1,
p. 14.
      Declaration of Richard Gamel ("Gamel Declaration"), 1 3,
        42

Docket Entry No. 27-1, p. 56 ("I have never used methamphetamines.
I was certainly not using methamphetamines at the time of my drug
test in October 2017.").
      Gamel Deposition, pp. 83:6-9, 85:23-91:25, Gamel's Appendix,
        43

Docket Entry No. 27-1, pp. 23-25.
                                         23-
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survive summary judgment on the strength of conclusory averments

alone").     And Gamel fai      to provide any admissible.evidence that
the medication he was taking for Hepatitis C caused a false
positive on his drug test.           When asked at his deposition what
prescriptions he contends          interfered with his drug test,               he
responded "the medication that starts with a P, « and he stated
                                                           11




that "I found out it would cause you to              1 a drug test, because
that's what the lady with unemployment, on the phone when I was
filing for unemployment, found out, online, would definitely make

you         a drug test. "45   Gamel' s testimony that the medication he

was taking for Hepatit         C could cause false positive results on a
drug test is inadmissible hearsay because Gamel is relying on this

statement to show the truth of the matter stated.                Inadmissible

hearsay is not sufficient to create a triable issue of fact.                   See

Okoye v. The University of Texas Houston Health Science Center, 245
F.3d 507, 510 n. 5 (5th Cir. 2001) (quoting Fowler v. Smith, 68
F.3d 124, 126 (5th Cir. 1995) ("Evidence on summary judgment may be
considered to the extent not based on hearsay.")).


           at 83:6-9, Gamel's Appendix, Docket Entry No. 27-1,
p. 23. See also id. at 85:23-91:25, Gamel's Appendix, Docket Entry
No. 27-1, pp. 23-25.
          at 85:24-86:3, Gamel's Appendix, Docket Entry No. 27-1,
pp. 23-24. See also        at 89:12-21, and 91:20-25, Docket Entry
No. 27-1, pp. 24-25 (reiterating that he learned that the
medication he has taking for Hepatitis C could cause a false
posit    on a drug test from a woman at the unemployment commission
with whom he spoke whi    filing a claim for unemployment and that
since     conversation with that woman, he had not confirmed with
any medical doctors or physicians that his liver medication could
cause a false positive on a drug test).
                                      -24-
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        Even if Gamel had presented admissible evidence capable of

establishing that he did not use amphetamines or methamphetamine,
or that the medication he was taking for Hepatitis C interfered
with his drug test by causing false positives, Gamel would still
have failed to raise a genuine issue of material fact for trial on
the issue of pretext.
        [U) nder the McDonnell Douglas framework, a plaintiff
        cannot prove that the employer's proffered reason is
        pretextual merely by disputing the truth of the
        underlying facts for that reason. Such evidence, alone,
        merely implies that an employer may have made a mistake
        in deciding to take action against an employee.
Haverda v. Hays County, 723 F.3d 586, 596 n. 1 (5th Cir. 2013)
(addressing retaliation) .        Because "[t] he focus of the pretext
inquiry is not whether the [drug] test was accurate but whether
[FET]     reasonably   believed   its   non-discriminatory     reason   for
discharging [Gamel] and then acted on that basis," Kitchen, 952
F.3d at 253, Gamel "must offer evidence to support an inference
that [FET] had a [discriminatory] motive, not just an incorrect
belief."    Haverda, 723 F.3d at 596 n. 1.      See also Bailey v. Real
Time Staffing Services, Inc., 543 F. App'x. 520, 524 {6th Cir.
2013)     {"Even if    the positive result     was in    fact false, an
employer's reliance on an erroneous result does not create a claim
under the ADA absent an independent showing that the real reason
for the firing was a disability.") .         Here, Gamel has f      led to
adduce evidence that any of the FET employees who decided to
discharge him - Bergerson, Suttles, and Danford - did not believe

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that the drug test was accurate and, that the real reason for

Gamel's discharge was his Hepatitis C.
      As. evidence that his disability was the real reason for his
discharge, Gamel argues that he "told Mr. Bergerson and Ms. Suttles
that he was on prescription medications and later told Ms. Suttles
that the MRO had directed he be retested[, but that] Ms. Suttles
chose to ignore this information because Mr. Bergerson was eager to
fire [him] . 1146   Gamel argues that "[a] reasonable jury can, and

will, find that [FET] terminated [him] because of his disability. " 47
While Gamel testified at his deposition that on the day he took his
drug test he told Bergerson that he was taking prescription
medications,48 and he        ft a voice mail for Suttles with that

information,49 Gamel fails to cite evidence that Bergerson, Suttles,

or Danford knew that he had Hepatitis C, or that Hepatitis C
substantially impaired one of his major life functions.
      As evidence that FET knew he had Hepatitis C, Gamel cites only
a text message from July 28, 2017, that he sent to his "lead,"
    , floor supervisor, Dagoberto Alvarado {"Alvarado"), stating
that "my blood work came back positive for hepatitis C that's been



      46
           Gamel's Response to MSJ, Docket Entry No. 27,       p. 19.
      47



      Gamel Deposition, pp. 93:17-94:15, Gamel's Appendix, Docket
      48

Entry No. 27-1, pp. 25-26.
              at 94:16-95:20, Gamel's Appendix, Docket Entry No. 27 1,
p. 26.
                                    -26-
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lying dormant, they think it may be active which explains fatigue,

constant tiredness, irritability etc. 1150      Later the same day Gamel

sent another text to Alvarado stating, "can we keep this between
you Dan and I, I mean I'm not contagious .              but people have a
tendency to be standoffish towards what they don't understand. 1151
Although Alvarado was the "lead" with whom Gamel worked, 52 Alvarado
was not one of the FET employees involved in the decision to
discharge Gamel, 53 and there is no evidence that Gamel or Alvarado
ever told Bergerson,         Suttles, or any else that Gamel had been
diagnosed with Hepatitis C, that Hepatitis C substantially limited
any of Gamel's major life functions,           or that Gamel needed an
accommodation.54         Instead, Gamel cites evidence that on September
22, 2017, he sent Bergerson an email stating that he would not be
in to work because he was going to the emergency room, 55 that the
next day he sent Bergerson another email stating that he had a



       50
            Gamel's Appendix, Docket Entry No. 27-1, p. 59.
       51
            Id. at 60.
      Alvarado Declaration, Gamel's Appendix, Docket Entry No. 27-
       52

1, p. 58 1 2.
   ·  Friar Declaration, Docket Entry No. 22-1, p. 3 � 11 ("The
       53

decision [to discharge Gamel] was mad� by 1) Mr. Gamel's immediate
supervisor, Dan Bergerson, 2) HR representative, Mande Suttles, and
3) Vice-President of HR, Michael Danford.").

      Gamel Deposition, p. 62: 22-25, Gamel's Appendix, Docket Entry
       54

No. 27-1, p. 18.
       55
            Gamel's Appendix, Docket Entry No. 27 1, p. 81.
                                     -27..-.
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large quantity of fluid removed from his abdomen, 56 and that when

he   returned         to    work   he   told    Bergerson    that     he    was    taking

prescription medication that caused attendance issues. 57

         Citing an October 3,           2017,    email that Bergerson sent to

Nathalie Diotte stating that he had prepared a final write-up for

Gamel,         Gamel argues that        "[i] nstead of addressing his health

issues, Mr. Bergerson began pressing HR to let him take action

against Mr. Gamel because of the attendance issues caused by the

health issues." 58          In the email Bergerson stated that Gamel

         was late on several occasions and Dago and I let it slide
         and didn't give him a write up.     It seemed like every
         other day, there was some issues with Richard and now
         looking back at all the text messages, it is apparent
         that we more than tried to give him slack as I only wrote
         him up twice. 59

On October 10, 2017, Bergerson issued a final warning to Gamel

stating that "[t] his is employee final warning on attendance, being

late,         and   not    calling/texting      his   lead   first.        If     lead   is

unavailable, then employee needs to contact production manager." 60




         56
              Id. at 82-84 .
     .Gamel's Response to MSJ, Docket Entry No. 27,
         57
                                                     pp. 8-9
(quoting Gamel Deposition, pp. 63:11-64:20, Gamel's Appendix,
Docket Entry Bo. 27-1, p. 18).
      Id. at 9 (quoting Gamel Appendix, Docket Entry No. 27-1,
         58

pp. 78-79) .
         59
              Gamel's Appendix, Docket Entry No. 2,7-1, p-. 79.
      Gamel's Response to MSJ, Docket Entry No. 27,
         60
                                                                           p. 9 (citing
Gamel's Appendix, Docket Entry No. 27-1, p. 86).
                                          -28-
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      Asserting that "[o]n October 16, 2017,        [Bergerson] pressured
two of Mr. Gamel's co-workers to say that Mr. Gamel was acting
erratically and then used these statements to convince HR to
authorize a drug test, "61 Gamel argues that "the resulting drug test
was thus bogus and merely an instrument devised by Mr. Bergerson to
get rid of Mr. Gamel.       In its motion, [FET] states several times

that Mr. Gamel was exhibiting 'bizarre behavior.'             This is, and

always was, a fabrication by Mr. Bergerson."62         As evidence that he
was not acting erratically that day,             Gamel cites Alvarado's
Declaration that he did not notice anything unusual about Gamel's
behavior. 63     But Gamel does not dispute that on October 16, 2017,
two of his co-workers, Peterson and Miller, told Bergerson that
Gamel was acting strangely, and made written statements to that

effeet. 64     Moreover Gamel fails to offer any admissible evidence
that Bergerson did not reasonably believe his co-worker's reports
of strange behavior or that Bergerson pressured them to making
their statements.       Instead, Gamel relies on his own testimony that
      the lady,        her name is Jennifer Miller, she's a
      machinist. When I got out of Dan Mr. Bergerson's office


      61Id.


      62
           Id. at 10.
      Id. (citing Alvarado Declaration, � 3, Gamel's Appendix,
      63

Docket Entry No. 27-1, p. 58 ("On the day that he was sent for a
drug test, I was working with Richard. He was acting the same as
he always did. I saw nothing unusual about his behavior.")).
      Friar Declaration, � 8, Docket Entry No. 22-1, p. 3 (citing
      64

Attachment C, Docket Entry No. 22-1, pp. 25-26).
                                    -29-
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       to turn in my gauges and put my tools up to go take the
       drug test, she came along the machine where I was getting
       my - closing my toolbox and, in tears, she said, look, we
       didn't - it wasn't our idea. I was forced to say it or
       else, and I'm sorry, and I didn't really have anything to
       do with it.
            I said, what are you talking about?
            She said, he asked a few of us to come into his
          ice and say you were acting erratically or strange.
       And my response was, when has Richard Gamel not acte·d
       strange, it's Richard Gamel. 65
       Like his testimony that the medication he was prescribed for
Hepatitis C caused his drug test to be falsely positive for
amphetamines and methamphetamine, Gamel's testimony that Bergerson
pres           his co-workers to make their statements is insufficient
to raise a genuine issue of fact as to pretext because it contains
inadmissible hearsay.            Okoye, 245 F.3d at 510 n. 5 (quoting
Fowler, 68 F.3d at 126         ( "Evidence on summary judgment may be
considered to the extent not based on hearsay.")) .                 Gamel's
contention that "the MRO had directed he be retested[, but that]
Ms. Suttles chose to ignore this information because Mr. Bergerson
was eager to fire [him] ," 66 is similarly insufficient to             se a
genuine issue of material fact as to pretext because                , too,
relies solely his own testimony of what the MRO said in an attempt
to prove the truth of the matter stated.


      Gamel Deposition, pp. 127:17-128:5, Gamel's Appendix, Docket
       65

Entry No. 127-1, p. 34.
       66
            Gamel's Response to MSJ, Docket Entry No. 27,     p. 19.
                                    -30-
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     As additional evidence that Bergerson wanted to fire him,

Gamel cites an October 20,       2017,    email to Nathalie Diotte,         and

Suttles      regarding   Gamel   stating,     "We   need    to    terminate

employment." 67     Attached to the October 20,         2017,    email were

communications that Gamel sent to co-workers.          Gamel argues that

     Mr. Bergerson claimed that [he] was harassing the
     employees and needed to be terminated immediately.
     The "harassment" consisted of a handful of benign
     messages that Mr. Gamel sent to co-workers because he was
     upset that someone had claimed that he was behaving
     erratically on the day of the drug test.        [FET] now
     calls these messages "bizarre and erratic" (Motion at 6),
     but this is just spin-doctoring in an attempt to justify
     Mr. Bergerson's insistence of immediately terminating
     Mr. Gamel.   . Here is an example of one of the "bizarre
     and erratic" messages submitted by [FET]

             Wow, So apparently I had         three "walk by
             evaluations", to determine as    to whether I was
             acting trippy while changing     jaws and no one
             could        approach me and     ask me if I was
             OK?

     There is nothing about that message that required
     immediate termination, but that is exactly what Bergerson
     was demanding. 68

     Gamel does not dispute that he sent electronic messages to co­

workers about the events leading up to his drug test, which were

shared with Bergerson, and that Bergerson shared with FET's Human

Resources Department together with a           statement characterizing


      ,Gamel's Appendix, Docket Entry No.
     67
                                                 27-1, p. 87.   See also
Friar Declaration, � 12, Docket Entry             No. 22-1, p. 3, and
Attachment E, Docket Entry No. 22-1, pp.          31-35 (text and email
messages that Gamel sent to co-workers he         suspected of saying he
was acting strangely).
     68
          Gamel's Response to MSJ, Docket Entry No. 27, pp. 11-12.
                                   -31-
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Gamel's messages as harassing, and expressing the belief that Gamel

should be terminated.     While the October 2017 emails that Bergerson
sent to Human Resources are evidence that Bergerson wanted Gamel
discharged, whether those messages were sufficiently harassing to
warrant termination is not for the court to decide.           Missing from
the summary judgment record is any evidence from which a reasonable
fact finder could conclude that Bergerson wanted Gamel discharged
because of his disability.          Nor is there any evidence that
Bergerson, Suttles, or Danford, the three FET employees who decided
to discharge Gamel, did not believe the results of the positive
drug test, and did not discharge Gamel because of those results but
instead, discharged him because of his disability.

           {d)    · Conclusions as to ADA Discrimination Claim
     Gamel denies having used amphetamines or methamphetamine and
contests the accuracy of his drug test, but presents no admissible
evidence from which a reasonable fact finder could conclude that
FET did not have reasonable suspicion to ask him to take a drug
test, that FET did not reasonably believe that the positive drug
test results were accurate, or that FET did not discharge Gamel
based on the reasonable belief that the results of his drug test
were accurate but, instead, discharged Gamel ·on account of his
disability.      Accordingly, the court concludes that FET is entitled
to summary judgment on Gamel's ADA discriminatory discharge claim.



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     2.      FET Is Entitled to Summary Judgment on Gamel's ADA Claim
             for Failure to Provide a Reasonable Accommodation
     Gamel alleges that FET

     violated the ADA         by failing to accommodate [his]
     disabilities by permitting the use of prescription
     medications, by failing to take reasonable steps to
     insure that the drug test would not produce a false
     positive that would discriminate against [him] because of
     his disabilities. 69

FET argues it is entitled to summary judgment on Gamel's failure to

accommodate      claim   because    Gamel    failed     to   exhaust        his

administrative remedies for this claim, and because Gamel never
requested an accommodation. 70     Asserting that "[t]he accommodation
at issue in this case is the second drug test, which would have
accommodated [his] use of prescription drugs for his disability," 71
Gamel argues that the charge he filed with the EEOC discusses the

fact that FET would not re-test him. 72          Gamel also argues that
"[b]ecaose he was on prescription medications for his disability,

he was entitled to be accommodated with a               second test that
controlled for the prescriptions.           This was a request for an

accommodation under the ADA. " 73




     69
          Complaint, Docket Entry No. 1, p. 3 � 14.
     7
         °FET's MSJ, Docket Entry No. 22, pp. 16-19.
     71   Gamel's Response to MSJ, Docket Entry No. 27, p. 21.
     72   Id. at 22.
     73Id.


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              (a)   Additional Law

       Discrimination in violation of the ADA includes failure to
make       "reasonable accommodations to the known physical
limitations of an otherwise qualified individual with a disability
       "    42 U.S.C. § 12112(b)(5)(A).         Before a plaintiff may bring
a claim for failure to provide a reasonable accommodation, the
plaintiff must exhaust his or her administrative remedies.                  See
Patton v. Jacobs Engineering Group, Inc., 874 F.3d 437, 443 (5th
Cir. 2017). Exhaustion includes filing a charge with the EEOC that
provides the basis for an investigation into acts underlying the
allegedly unlawful conduct. Id. A court will determine whether an
EEOC charge exhausts administrative remedies "not solely by the
scope of the administrative charge itself, but by the scope of the
EEOC investigation which 'can reasonably be expected to grow out of
the charge of discrimination.'"          Id. (quoting Sanchez v. Standard
Brands, Tnc., 431 F.2d 455, 466 (5th Cir. 1970)).              To establish a
prima facie failure-to-accommodate claim, a plaintiff must cite
evidence      capable   of   proving    that:    "(l)   the   plaintiff   is   a
'qualified individual with a disability;' (2) the disability and
   consequential limitations were 'known' by the covered employer;
and (3) the employer failed to make 'reasonable accommodations' for
such known limitations."           Feist v. Louisiana,         Department of
Justice, Office of the Attorney General, 730 F.3d 450, 452 (5th
Cir. 2013).


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      "'An    employee    who    needs   an   accommodation        because     of   a

disability has the responsibility of informing her employer.'"

Griffin v. United Parcel Service, Inc., 661 F.3d 216, 224 (5th Cir.

2011) (quoting Chevron Phillips Chemical, 570 F.3d at 621).                    Once

an   employee    requests   an     accommodation       for   a   disability,    ADA

regulations state that "it may be necessary for the [employer] to

initiate an informal, inter-active process" designed to identify

reasonable accommodations.          29 C.F.R.      §   1630.2(0)(3)      See also

Taylor v. Principal Financial Group, Inc., 93 F.3d 155, 165 (5th

Cir.),   cert. denied,      117 S. Ct. 586 (1996) ("[T]he employee's

initial request for an accommodation . . . triggers the employer's

obligation to participate in the interactive process of determining

one.")       "[W]hen an employer's unwillingness.to engage in a good

faith    interactive     process    leads     to   a   failure    to    reasonably

accommodate an employee, the employer violates the ADA."                   Cutrera

v. Board of Supervisors of Louisiana State University, 429 F.3d

108, 112 (5th Cir. 2005) (citing Loulseged v. Akzo Nobel Inc., 178

F.3d 731, 736 (5th Cir. 1999)).          But failure to participate in an

interactive process does not alone constitute a violation of the

ADA. "' [A]n employer cannot be found to have violated the ADA when

responsibility for the breakdown of the "informal,                     interactive

process" is traceable to the employee and not the employer. '"

Griffin, 661 F.3d at 224.




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           (b}    Application of the Law to the Undisputed Facts

     FET is entitled to summary judgment on Gamel's ADA reasonable
accommodation     claim    because       Gamel   neither        exhausted    his
administrative    remedies     as   to    this   claim,       nor    requested   a
reasonable accommodation.       Gamel's EEOC charge is insufficient to
exhaust   administrative     remedies      as    to     his    ADA    reasonable
accommodation claim.      Gamel checked only the "disability" box and
alleged   facts   supporting    only      disability      discrimination     and
retaliation, stating:
          In October 2017, [FET] discharged me due to a failed
     drug test, even though I had repeatedly told my
     supervisors, human resources, and the drug testers that
     I was on multiple prescription drugs.               These
     prescriptions   related   to   disabilities,    including
     Hepatitis C,

          The drug test detected my prescriptions and
     generated a false positive . .   The drug testing company
     offered to re-test me, and     I  agreed to the retest.
     However, this never happened.
          The company then fired me for the positive drug
     test. .
          The company then retaliated against me for
     complaining about the drug test and the termination. In
     particular, Mr. Bergerson then tried to get me arrested.
           74



Gamel's EEOC charge does not mention a request for either a retest

or a reasonable accommodation.            See Acker v.         General Motors,
���, 853 F.3d 784, 791 (5th Cir. 2017}                ("Employees who require


      Addendum to Charge of Discrimination, Exhibit 7 to FET' s MSJ,
     74

Docket Entry No. 22-7, p. 4.
                                     36
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accommodation due to a disability are responsible for requesting a

reasonable accommodation.").         An EEOC charge alleging only facts

supporting a claim of discriminatory discharge and retaliation does

not exhaust a claim of failure to reasonably accommodate.                 See,

Windhauser v. Board of Supervisors for Louisiana State University

& Agricultural & Mechanical College, 360 F. App'x 562, 565 (5th

Cir. 2010) (per curiam) ("A failure-to-accommodate claim under the

ADA is distinct from a claim of disparate treatment."); Hamar v.

Ashland, Inc., 211 F. App'x 309, 310 (5th Cir. 2006) (per curiam)

(affirming        a    district     court's     dismissal      of    an   ADA

reasonable-accommodation claim because the underlying EEOC charge

asserted only employment discrimination, and collecting cases).

Because Gamel's EEOC charge did not include sufficient allegations

to     prompt    an   EEOC   investigation    into   failure   to   provide   a

reasonable accommodation, and to thereby exhaust administrative

remedies,       the court concludes that FET is entitled to summary

judgment on Gamel's ADA reasonable-accommodation claim. See Miller

v. Southwestern Bell Telephone Co., 51 F. App'x 928, at *6 n.5 (5th

Cir.    2002)    (per curiam)     ("It is well-established that summary

judgment may be granted against a non-movant solely on the basis of

failure to exhaust administrative remedies.").            Even if Gamel had

exhausted his administrative remedies, FET would still be entitled

to summary judgment on his failure to accommodate claim because

Gamel failed to request an accommodation.


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        A disabled individual in need of an accommodation is generally

required to inform the employer that an accommodation is needed.
See Taylor, .93 F.3d at 165.           "If the employee fails to request an
accommodation, the employer cannot be held liable for failing to
provide one."        Id. Plaintiff testified that he never made a formal

request for an accommodation for his Hepatitis C.75                    And, Gamel
fails to cite any summary judgment evidence that could be construed
as such a request.           Thus, Gamel's failure-to-accommodate claim
fails for this independent reason.               Id. at 165 66.         See also
Johnson v. Ben E. Keith Co., No. 4:16-CV-1030-A, 2017 WL 3263134,
at *4 (N.D. Tex. July 28, 2017), appeal dismissed, 2017 WL 7795989

(5th Cir. October 2, 2017) (granting summary judgment to defendant
employer         because   plaintiff    failed   to   request     a    reasonable
accommodation).


        3.      FET Is Entitled to Summary Judgment on Gamel's ADA
                Retaliation Claim
        Gamel alleges that FET "violated the ADA . . . by retaliating
against [him] by making a false accusation to the police. " 76

        FET argues that       "Gamel cannot show that           [it]   retaliated
against him for any legally-protected activity." 77             FET argues that
Gamel


      Gamel Deposition, p. 62:22-25, Gamel' s Appendix, Docket Entry
        75

No. 27-1, p. 18.
        76
             Complaint, Docket Entry No. 1, p. 3 � 14.
        77
             FET's MSJ, Docket Entry No. 22, p. 20.
                                        -38-
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        has not shown or even alleged that he engaged in any
        protected activity. There is no evidence to suggest that
        his complaints about either taking the drug test or the
        subsequent results related to a disability. Additionally,
        there is no causal connection between that complaint and
        the police being called, because the police were called
        in response to safety concerns from Mr. Gamel's former
        co-workers. See Ex. 6. This coupled with the erratic
        and overly aggressive text messages, caused [FET] 's upper
        management to treat Mr. Gamel with caution. See Ex. 1 at
        � 13 and Attachment E. As such, he cannot show that this
        report was because of his complaint about his drug test
        or discharge, rather than his trespass on [FET] 's
        premises after           his threats and the Employee
        Communications. 78

        Asserting that he "exercised his rights under the ADA by

demanding a retest to account for the prescription medications for

his disability,        1179
                              and that "[t]his was protected activity under the

ADA,   1180
               Gamel argues that FET's "argument is without merit because

the ADA covers more than just oppositional activity and because

causation at the prima facie case phase is established by temporal

proximity. 1181       Citing Outley v. Luke          &   Associates, Inc., 840 F.3d

212, 219 (5th Cir. 2016), Gamel argues that "[a]pproximately two

weeks         after   [he]     engaged   in    the   protected   activity   and was

terminated, Mr. Bergerson filed a police report against [him]. Two

weeks is sufficient to establish temporal proximity and thus

causation." 82


        78Id.


        79
             Gamel's Response to MSJ, Docket Entry No. 27, pp. 22-23.
        80
              Id. at 23.




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              (a)   Additional Law

       The Fifth Circuit applies the McDonnell Douglas framework to
analyze retaliation claims under the ADA.           Therefore, in order to
establish a prima facie case of retaliation under the ADA Gamel
must show that:       (1) he engaged in activity protected by the ADA;
(2) he suffered an adverse action; and (3) there             a causal link
between the first two elements.             Feist, 730 F.3d at 454.     Once
Gamel establishes a prima facie case the burden shifts to FET to
articulate a legitimate non-retaliatory reason for its action.              Id.

The burden then shifts back to Gamel to adduce evidence that would
permit a reasonable trier of fact to find that the proffered reason
is a pretext for retaliation.               (citation omitted). Gamel must
cite evidence capable of demonstrating that the adverse action
would not have occurred "but for" his protected activity.
(citing Seaman, 179 F.3d at 301).


              (b)   Application of the Law to the Undisputed Facts
       Gamel testified at his deposition that he did not request a
reasonable accommodation for his Hepatitis C. 83         Gamel, therefore,
is unable to establish a prima facie case of retaliation because he

is unable to establish that he engaged in activity protected by the
ADA.        Because Gamel has failed to cite evidence capable of




      Gamel Deposition, p. 62: 22-25, Gamel' s Appendix, Docket Entry
       83

No. 27-1, p. 18.
                                     -40-
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establishing a prima facie case of retaliation, FET is entitled to
summary judgment on Gamel's ADA retaliation claim.
       Even if Gamel could establish a prima facie case by showing
that he engaged in activity protected by the ADA, FET would still
be entitled to summary judgment on his retaliation claim because

FET has stated a legitimate, non-retaliatory reason for the adverse
action, and Gamel has failed to offer any evidence of pretext.                FET
has cited undisputed evidence that upon discharge Gamel was advised
not to return to FET's facility, that on November 9, 2017, Gamel
showed up unannounced in FET's parking lot at approximately 5:15
a.m., and that because the texts that he had sent to his co-workers
following his drug test raised concerns for employee safety,
Bergerson       called     the     Grimes     County   Sheriff's    Office     to
investigate. 84      FET has,         therefore,   stated a legitimate,      non-
retaliatory reason for calling law enforcement to report Gamel's
trespass.      Gamel has neither argued nor cited any evidence capable
of   establishing        that    FET's    stated   reasons   for   calling    law
enforcement on November 9, 2017, were not the true reasons and
were, instead, a pretext for retaliation.              Accordingly, the court
concludes that FET is entitled to summary judgment on Gamel's ADA
retaliation claim.               Jenkins v. Cleco Power, LLC, 487 F.3d 309,
316-17 (5th Cir. 2007).

      84
           Friar Declaration,     1   13, Docket Entry No. 22-1, p. 4.
                                          -41-
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          IV. Gamel's Motion to Exclude Expert Testimony

     Because the court has been able to resolve the pending motions
for summary judgment without relying on the expert testimony or
report   of   Dr.     Janci    Lindsay,    Gamel's   Motion    to   Exclude
Dr. Lindsay's testimony will be denied as moot.



              V.    FET's Objections and Motion to Strike

     FET objects and moves to strike several items of evidence that
Gamel has submitted in opposition to FET's MSJ.           For the reasons
stated in note 4, above, the court has already concluded that FET's
objection to Gamel's hospital records should be overruled and that
FET's motion to strike Gamel's hospital records should be denied.
Because the court has been able to resolve the Gamel's MPSJ and
FET's MSJ without relying on the remaining items of evidence to
which FET objects, FET's objections to and motion to strike that
evidence are moot.



                       VI.    Conclusions and Order

     For the reasons stated in§ III.A, above, the court concludes
that Gamel is not ent         led to summary judgment that when FET
discharged him from his job as a machinist on October 24, 2017, he
was a person with a disability within the meaning of the ADA.
Because the court has been able to resolve Gamel's MPSJ and FET's

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MSJ without referring to FET's affirmative defenses, Gamel's motion

for partial summary judgment on FET's affirmative defenses is moot.
Accordingly,   Plaintiff's Motion for Partial Summary Judgment,

Docket Entry No. 21, is DENIED in PART and MOOT in PART.

     For the reasons stated in§ III.B, above, the court concludes
that FET is entitled to complete summary judgment on Gamel's claims
for violation of the ADA by discharging him on account of his

disability, by failing to provide a reasonable accommodation for
his alleged disability, and by retaliating against him for engaging
in activity protected by the ADA.      Accordingly, Defendant's Motion

for Complete Summary Judgment, Docket Entry No. 22, is GRANTED.

     For the reasons stated in§ IV, above, Plaintiff's Motion to
Exclude Expert Testimony of Dr. Janci Lindsay, Docket Entry No ..           23,

is DENIED as MOOT.

     For the reasons stated in§ V, above, FET's Objections to the
Plaintiff's Evidence Submitted in Response to Motion for Complete

Summary Judgment, Docket Entry No. 31, are OVERRULED with respect

to Gamel�s hospital records, and MOOT as to all other matters.

     SIGNED at Houston, Texas, on this




                                                SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




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